           Case 1:22-cv-00125-SWS Document 98 Filed 10/12/22 Page 1 of 4




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Attorney for Plaintiff

                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF WYOMING

CUSTODIA BANK, INC.,                      )
                                          )
            Plaintiff,                    )
                                          )
v.                                        )     Civil Action No. 22-CV-00125-SWS
                                          )
FEDERAL RESERVE BOARD OF                  )
GOVERNORS and FEDERAL RESERVE             )
BANK OF KANSAS CITY,                      )
                                          )
            Defendants.                   )
______________________________________________________________________________

PLAINTIFF CUSTODIA BANK, INC.’S NOTICE AND SUBMISSION OF SUPPLEMENTAL
                              AUTHORITY
______________________________________________________________________________


         Plaintiff Custodia Bank, Inc. respectfully asks the Court to take judicial notice of the

attached October 11, 2022 press release from BNY Mellon entitled “BNY Mellon Launches New

Digital Asset Custody Platform,” attached hereto as Exhibit “A,” as additional and relevant

authority in support of Plaintiff’s Omnibus Memorandum in Opposition to Defendants’ Motions

to Dismiss Plaintiff’s Complaint (ECF Doc. No. 58). While Custodia has been waiting patiently

for Defendants to decide its master account application, BNY Mellon, the oldest bank in the

Nation, is “now able to hold and transfer” digital assets on behalf of its banking customers. Ex.

A, 1. The Federal Reserve Board of Governors (“Board”), one of two Defendants in this matter,
         Case 1:22-cv-00125-SWS Document 98 Filed 10/12/22 Page 2 of 4




supervises BNY Mellon as its primary regulator in three distinct areas: (1) as a state-chartered

member bank, FDIC, The Bank of New York Mellon, https://tinyurl.com/bp5898r3; (2) through

BNY’s bank holding company, 12 U.S.C. § 1841(a)(1); and (3) through BNY’s designation as a

Global Systemically Important Bank, Fin. Stability Bd., 2021 List of Global Systemically

Important Banks (Nov. 21, 2021), https://tinyurl.com/2h96y3fm.

       This announcement directly refutes the central argument advanced by Defendants—

namely, that allowing banks with master accounts to provide custodial services for digital assets

poses systemic risks that warrant additional evaluation, thus justifying indefinite delay. Bd. Br. 8-

9; KCF Br. 8-10. BNY was required to notify its supervisory point of contact at the Federal

Reserve prior to engaging in digital asset banking. See Fed. Rsrv. Bd., Engagement in Crypto-

Asset-Related Activities by Fed. Rsrv.-Supervised Banking Orgs. 3 (Aug. 16, 2022) (attached

hereto as Exhibit “B”) (“A supervised banking organization should notify its lead supervisory

point of contact at the Federal Reserve prior to engaging in any crypto-asset-related activity.”). If

holding custody of digital assets poses “novel, precedent-setting risk” to the United States financial

system, as Defendants suggest in their motions, then the Board could have—indeed, should have—

prevented BNY from engaging in such activities, especially since BNY is a Global Systematically

Important Bank. 12 C.F.R. § 225.4(a)(2). Instead, this recent development aligns precisely with

the allegations of favoritism raised by Custodia’s Complaint, whereby delay in adjudicating

Custodia’s master account application “benefits the established financial institutions whose

interests are represented on the Board of Directors of the Kansas City Fed” while undermining the

competitive advantage of Custodia’s SPDI charter. Compl. ¶ 2; see also ¶¶ 8 (delay “benefit[s]

existing and entrenched competitors”), 70, 114, 140. It also crystallizes the lack of respect shown

by Defendants for Wyoming and the carefully crafted SPDI charter enacted by the State.



                                                 -2-
         Case 1:22-cv-00125-SWS Document 98 Filed 10/12/22 Page 3 of 4




       For these reasons, Custodia asks that the Court take notice of the BNY Mellon press release

attached hereto as Exhibit A.

       DATED this 12th day of October, 2022.
       CUSTODIA BANK, INC., Plaintiff


                                     By:    /s/ Scott E. Ortiz______________
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                                               -3-
         Case 1:22-cv-00125-SWS Document 98 Filed 10/12/22 Page 4 of 4




                                CERTIFICATE OF SERVICE
        The undersigned does hereby certify that a true and correct copy of the foregoing document
was delivered to the Court via the CM/ECF System and served upon counsel via CM/ECF
electronic transmission this 12th day of October, 2022:

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